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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,                         CR 16-107-BLG-SPW-TJC-8

                    Plaintiff,
                                                  FINDINGS AND
vs.                                               RECOMMENDATION OF
                                                  U.S. MAGISTRATE JUDGE
MARISA ANN LYMAN,

                    Defendant.




      The Defendant, by consent, appeared before me under Fed. R. Crim. P. 11

and entered a plea of guilty to Counts I and IX of the Indictment, which charge the

crimes of conspiracy to possess with intent to distribute and to distribute

methamphetamine, in violation of 21 U.S.C. § 846, and conspiracy to commit

money laundering, in violation of 18 U.S.C. § 1956(h).

      After examining the Defendant under oath, the Court determined:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offenses charged against her;

      2. That the Defendant is aware of the nature of the charges against her and

the consequences of pleading guilty to the charges;




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        3. That the Defendant fully understands her pertinent constitutional rights

and the extent to which she is waiving those rights by pleading guilty to the

criminal offenses charged against her; and

        4. That her plea of guilty to the criminal offenses charged against her is

knowingly and voluntarily entered, and is supported by independent factual

grounds sufficient to prove each of the essential elements of the offenses charged.

        The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that Defendant fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true.

        Therefore, I recommend that the Defendant be adjudged guilty of the

charges in Counts I and IX of the Indictment and that sentence be imposed.

        Objections to these Findings and Recommendation are waived unless filed

and served within fourteen (14) days after the filing of the Findings and

Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim. P 59(b)(2).

        DATED this 13th day of November, 2017.

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                                         TIMOTHY J. CAVAN
                                         United States Magistrate Judge




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